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                                            1665
                                                 EXHIBIT 5
From:                            Johnson, Kristeena
Sent:                            Monday, November 27, 2023 10:52 AM
To:                              Darrell Herald; 'Ned Pillersdorf'
Cc:                              Morgan, Grahmn; Pack, Ashley; Larkin, R. Clay; McClure, Mac; Adkinson, Kimberly;
                                 Mangus, Beth
Subject:                         Baker v. Blackhawk - Discovery
Attachments:                     23-12-27 - Letter Re discovery (Baker v. BH).pdf


Ned and Darrell,

Please see the attached correspondence regarding the requests made during the Plaintiffs’ recent depositions for
documents they’ve identified that are responsive to our discovery requests but have not yet been produced. We will
reach out to the Magistrate regarding availability for a call and let you know the response.

Thank you,

Kristeena

From: Johnson, Kristeena
Sent: Thursday, November 9, 2023 5:36 PM
To: 'Darrell Herald' <dah41339@yahoo.com>; 'Ned Pillersdorf' <pillersn@gmail.com>
Cc: Morgan, Grahmn <grahmn.morgan@dinsmore.com>; Pack, Ashley <ashley.pack@dinsmore.com>; 'Larkin, R. Clay'
<clay.larkin@dentons.com>; McClure, Mac <Mac.McClure@Dinsmore.com>
Subject: RE: Emails Between Aaron White and Blackhawk Employees

Ned and Darrell,

It has been over three weeks since we requested the email communications referenced below. Until we receive those
communications, we do not intend to go forward with the Depositions of Aaron and Tiffany White next week. I will file a
notice of cancellation but request that the emails be produced by Wednesday of next week in any event (which will be 4
weeks from when we made the below request).

There are a number of items that Plaintiffs over the past month have noted during their depositions that have not been
produced which should have been produced months ago per the Court’s Orders. Please let us know some dates and
times that you are available over the next two weeks to discuss this issue with the Magistrate Judge. At this point we
need to get some hard deadlines in place for the production of the documents and information.

Thank you,

Kristeena

From: Johnson, Kristeena
Sent: Wednesday, October 25, 2023 2:04 PM
To: 'Darrell Herald' <dah41339@yahoo.com>; 'Ned Pillersdorf' <pillersn@gmail.com>
Cc: Morgan, Grahmn <grahmn.morgan@dinsmore.com>; Pack, Ashley <ashley.pack@dinsmore.com>; 'Larkin, R. Clay'
<clay.larkin@dentons.com>; McClure, Mac <Mac.McClure@Dinsmore.com>
Subject: RE: Emails Between Aaron White and Blackhawk Employees

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                                              1666
Ned and Darrell,

Following up on the below. Please let us hear from you on our request that the email communications referenced below
be produced.

Thank you,

Kristeena

From: Johnson, Kristeena
Sent: Wednesday, October 18, 2023 12:41 PM
To: 'Darrell Herald' <dah41339@yahoo.com>; 'Ned Pillersdorf' <pillersn@gmail.com>
Cc: Morgan, Grahmn <grahmn.morgan@dinsmore.com>; Pack, Ashley <ashley.pack@dinsmore.com>; Larkin, R. Clay
<clay.larkin@dentons.com>; McClure, Mac <Mac.McClure@Dinsmore.com>
Subject: Emails Between Aaron White and Blackhawk Employees

Ned and Darrell,

There have been several items that Plaintiffs have noted on the record during their recent depositions that they have
possession of that are responsive to our Discovery Requests but which have not yet been produced. We’ve been making
requests for those items on the record and continue to reserve our rights with respect to the fact that the items were
not initially produced in response to the previously served Discovery Requests (especially given our extensive efforts to
meet and confer over the responses).

However, items of particular note that should be produced immediately are the email correspondences (as well as any
other communications including, but not limited to, text messages, voices mails, Facebook messages, imessages, etc.)
that Richard and Greta White claimed that their son Aaron White had with an unnamed Blackhawk or Pine Branch
employee related to silt ponds, reclamation, and Blackhawk/Pine Branch generally. Again, we continue to reserve all
rights with respect to the failure to produce such items to this point but request that these communications as well as
any others with Blackhawk/Pine Branch employees be produced without further delay.

Thank you,

Kristeena




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